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Off White LLC

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

OFF-WHITE LLC,
Plaintiff

¥v.

ANOGAR-32,

BCSE PHONE ACCESSORIES,
BINTANRAHAR]J 0, BORTOLO_DOMINGO,

ARYYUDO,

BROSHOPPING, BUDIAWASALL 0,
CHUANGSHOU-STORE, DANYANG6,
DENGXIAOBIN1857, DIMAPRAYOG 83,

EVITA.ESKELA, FANGGE06302, FUNTHINK,
GIFTSFROMPORTO , HASBER-13,
HENRYLUCKMORGAN, HUOJIN4, iLisoo7,
ITAPAR_ 51, JANECHE-87, JASET-3745,
JCONEJITA19851, KEANU, 1, KELAL-11,
LAUJOHN_ 16, LIGHTYNIGHT,
LIZA. MARCHETTI, MILLIE-665,
NIALL MALIK, PR-MARKETING9305,
RUSAN7376, S$G8450048-3, = SPENCER1870,
STYLEYOURLIFE1, SUMAK-75, TOMMY95118,

 

 

Civil Case No.: 20-cv-7892 (LTS)

1) TEMPORARY RESTRAINING
ORDER; 2) ORDER RESTRAINING
MERCHANT STOREFRONTS AND
DEFENDANTS’ ASSETS WITH THE

FINANCIAL INSTITUTIONS; 3)
ORDER TO SHOW CAUSE WHY A

PRELIMINARY INJUNCTION

SHOULD NOT ISSUE; 4) ORDER
AUTHORIZING BIFURCATED AND
ALTERNATIVE SERVICE; AND 5)

ORDER AUTHORIZING
EXPEDITED DISCOVERY

FILED UNDER SEAL
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TOPSHOPPING- 18, TY-2324, VACAH_96,
XELZ88436, XINCHENGXIONGDIO727,
YAUNER88, ZCLA63802 and ZHANGYONG1991,

Defendants

 

 
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GLOSSARY
| Definition:
Plaintiff or Off-White | Off-White LLC
Defendants anogar-32, aryyudd, bese_phone_accessories,
bintanraharj_0, bortolo_domingo, broshopping,
budiawasali_0, chuangshou-store, danyang6 ,
dengxiaobin1857, dimaprayog 83, evita.eskela,

fangge06302 , funthmk, giftsfromporto, hasber-13,
henryluckmorgan, huojin4, iliso07, itapar_51, janeche-
87, jaset-3745, jconejital9851, keanu._1, kelal-11,
lanjohn_16, lightynight, liza.marchetti, mullie-665,
mall malik , pr-marketing9305, risan7376, sg8450048-
3, spencer 1870, styleyourlifel, sumak-75, tommy95118,
topshopping-18, ty-2324, vacah_96, xelz88436,
xinchengxiongdi0727,  yauner88, zcla63802 and
zhangyong199 1

 

eBay eBay.com, a San Jose, California-based online
marketplace and e-commerce platform owned by eBay
Tnc., a Delaware corporation, that allows manufacturers
and other third-party merchants, like Defendants, fo
advertise, distribute, offer for sale and/or sell in what it
characterizes as either auction-style or fixed-price
formats and ship their retail products, which, upon
information and belief, originate from China, among
other locations, directly to consumers worldwide and
specifically to consumers residing in the U.S., mcluding

 

 

 

 

in New York
Epstein Drangel Epstein Drange! LLP, counsel for Plaintiff
New York Address 244 Madison Ave, Suite 411, New York, NY 10016
Complaint Plaintiff's Complaint filed on September 24, 2020
Application Plaintiff's Ex Parte Application for: 1} a temporary

restraining order; 2) an order restraming Merchant
Storefronts (as defined infra) and Defendants’ Assets (as
defined ffra) with the Financial Institutions (as defined
infra}, 3) an order to show cause why a preliminary
injunction should not issue; 4) an order authorizing
bifureated and alternative service and 5) an order
authorizing expedited discovery filed on September 24,

 

 

 

2020

Abloh Dec. Declaration of Virgil Abloh in Support of Plaintiff's
Application

Yamali Dec. Declaration of Danielle S. Yamali in Support of
Plaintiff's Application

Off-White Products A high-end line of men’s and women's apparel, as well

as shoes, accessories, jewelry, and other ready-made
goods, marketed under the Off-White Brand (defined

 

 

 

 

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infra)

 

Off-White Brand

The trademarks, Off-White™ and Off- White c/o Virgil
Abloh™, used to market the Off White Products

 

Off-White
Registrations

U.S. Trademark Registration Nos.: 5,119,602 for “OFF
WHITE” for a variety of goods in Class 25 with a
constructive date of first use of January 25, 2012,
5,713,397 for “OFF-WHITE” for a variety of goods in
Class 25, 5,710,328 for “OFF-WHITE C/O VIRGIL
ABLOH” for a variety of goods in Class 9, 5,572,836 for
“OFF-WHITE C/O VIRGIL ABLON” for a variety of
goods in Class 25, 5, 710,287 for “OFF-WHITE C/O
VIRGIL ABLOH” for a variety of goods in Class 14,

5,150,712 for Yj Oe variety of goods in Class 18
and 25, 5, 710,288 for Up for a variety of goods in

r

MWOOw7s

Class 14, 5,307,806 for “4 for a varicty of goods in Class

18 and 25, 5,835,552 for # for a variety of goods in

Class 9, 5,387,983 for for a variety of goods in

ma
Class 25, 5,445,222 for Me for a variety of goods in

Class 25, 5,800414 for eB for a variety of goods in

Class 9 and 25, 5,681,805 for WZ e¥ for a variety of goods

I>

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in Class 9 and 5,663,133 for
goods in Class 25

for a variety of

 

 

Off-White Applications

U.S. Trademark Serial Application Nos.: 88/080,002 for

  
 

 

, for a variety of goods in Class 18 and Class
20

 

Off-White Marks

The marks covered by the Off-White Registrations and
the Off-White Applications

 

 

Counterfeit Products

 

Products bearing or used in connection with the Off-

 

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White Marks, and/or products in packaging and/or
containing labels bearing the Off-White Marks, and/or
bearing or used in connection with marks that are
confusingly similar to the Off-White Marks and/or
products that are identical or confusingly similar to the
Off-White Products

 

Infringing Listings

Defendants’ listings for Counterfeit Products

 

User Accounts

Any and all websites and any and all accounts with online
marketplace platforms such as eBay, as well as any and
all as yet undiscovered accounts with additional online
marketplace platforms held by or associated with
Defendants, their respective officers, employees, agents,
servants and all persons in active concert or participation
with any of them

 

Merchant Storefronts

Any and all User Accounts through which Defendants,
their respective officers, employees, agents, servants and
all persons in active concert or participation with any of
them operate storefronts to manufacture, import, export,
advertise, market, promote, distribute, display, offer for
sale, sell and/or otherwise deal in Counterfeit Products,
which are held by or associated with Defendants, their
respective officers, employees, agents, servants and all
persons in active concert or participation with any of
them

 

Defendants’ Assets

Any and all money, securities or other property or assets
of Defendants (whether said assets are located in the US.
or abroad)

 

Defendants’ Financial
Accounts

Any and all financial accounts associated with or utilized
by any Defendants or any Defendants’ User Accounts or
Merchant Storefront(s} (whether said account is located
in the U.S. or abroad)

 

Financial Institutions

Any banks, financial institutions, credit card companies
and payment processing agencies, such as PayPal Inc.
(“PayPal”), Payoneer Inc. (“Payoneer”), PingPong
Global Solutions, Inc. (“PingPong”) and other
companies or agencies that engage in the processing or
transfer of money and/or real or personal property of
Defendants

 

 

Third Party Service
Previders

 

Online marketplace platforms, including, without
limitation, those owned and operated, directly or
indirectly by eBay, as well as any and all as yet
undiscovered online marketplace platforms and/or
entities through which Defendants, their respective
officers, employees, agents, servants and all persons in
active concert or participation with any of them
manufacture, import, export, advertise, market, promote,
distribute, offer for sale, sell and/or otherwise deal in
Counterfeit Products which are hereinafter identified as
a result of any order entered in this action, or otherwise

 

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On this day, the Court considered Plaintiff's ex parte application for the following: 1) a
temporary restraining order; 2) an order restraining Merchant Storefronts and Defendants’ Assets
with the Financial Institutions; 3) an order to show cause why a preliminary injunction should not
issue; 4) an order authorizing bifurcated and alternative service and 5) an order authorizing
expedited discovery against Defendants, Third Party Service Providers and Financial Institutions
in light of Defendants’ intentional and willful offerings for sale and/or sales of Counterfeit
Products.' A complete list of Defendants is attached hereto as Schedule A, which also includes links
to Defendants’ Merchant Storefronts and Infringing Listings. Having reviewed the Application,
Declarations of Virgil Abloh and Danielle S, Yamali, along with exhibits attached thereto and
other evidence submitted in support thereof, the Court makes the following findings of fact and
conclusions of law:

FACTUAL FINDINGS & CONCLUSIONS OF LAW

1. Off- White, launched in or about 2013, is the owner of the Off-White Products, which
are distributed through various channels of trade in the United States and abroad.

2, The Off-White Products are marketed under the Off-White Marks.

3. The Off-White Products are sold at luxury retailers, such as Selfridges and Bergdorf
Goodman, as well as Off-White’s boutiques located in prominent fashion epicenters, including,
without limitation, London, Tokyo, Hong Kong, Seoul, Beijing, Shanghai, Toronto, Shenyang, Xian,
Dubai, Bangkok, Busan, Macau, Manila, Mykonos, Tianjin, Paris, Vancouver, Kuala Lumpur,
Sydney, Taipei, Melbourne, Manchester, Singapore and New York City.

4, Since the launch of Off-White approximately seven (7) years ago, the Off-White

Brand and Off-White Products have been featured in numerous press publications, including, but not

 

' Where a defined term is referenced herein and not defined herein, the defined term should be understood as it is
defined in the Glossary.

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limited to, New York Magazine, GO, W Magazine, Vogue and Business of Fashion, among others.
Recently, Lysf named Off-White as the “hottest fashion brand in the World.”

5. While Plaintiff has gained significant common law trademark and other rights in its
Off-White Products and Off-White Marks through its use, advertising and promotion, Plaintiff has
also protected its valuable rights by filing for and obtaining federal trademark registrations.

6. For example, Off-White owns the following U.S. Trademark Registration Nos.:
5,119,602 for “OFF WHITE” for a variety of goods in Class 25; 5,713,397 for “OFF-WHITE” for a
variety of goods in Class 25; 5,710,328 for “OFF-WHITE C/O VIRGIL ABLOH” for a variety of
goods in Class 9; 5,572,836 for “OFF-WHITE C/O VIRGIL ABLOH?” for a variety of goods in Class

25; 5,710,287 for “OFF-WHITE C/O VIRGIL ABLOH?” for a variety of goods in Class 14; 5,150,712

for Yt for a variety of goods in Class 18 and 25; 5,710,288 for Y, for a variety of goods in

Class 14; 5,307,806 for “% for a variety of goods in Class 18 and 25; 5,835,552 for xX for a

variety of goods in Class 9; 5,387,983 for XX for a variety of goods in Class 25; 5,445,222 for

OX for a variety of goods in Class 25; 5,800,414 for for a variety of goods in Class 9 and

25; 5,681,805 for be Di for a variety of goods in Class 9; and 5,663,133 for |

 

 

 

 

for a variety

 

of goods in Class 25. Off-White also owns the following U.S. Trademark Serial Application Nos.:

 

for a variety of

goods in Class 18 and Class 25.
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7. Defendants are manufacturing, importing, exporting, advertising, marketing,
promoting, distributing, displaying, offering for sale or Counterfeit Products through Defendants’
User Accounts and Merchant Storefronts with eBay (see Schedule A for links to Defendants’
Merchant Storefronts and Infringing Listings);

8. eBay is an online marketplace and e-commerce platform, which allows
manufacturers and other third-party merchants, like Defendants, to advertise, distribute, offer for
sale, sell and ship their retail products, which, upon information and belief, primarily originate
from China, directly to consumers worldwide and specifically to consumers residing in the U.S.,
including New York.

9, Defendants are not, nor have they ever been, authorized distributors or licensees of
the Off-White Products. Neither Plaintiff, nor any of Plaintiff's authorized agents, have consented
to Defendants’ use of the Off-White Marks, nor has Plaintiff consented to Defendants’ use of marks

that are confusingly similar to, identical to and constitute a counterfeiting or infringement of the

Off-White Marks;

10. Plaintiff is likely to prevail on its Lanham Act and related common law claims at
trial;

11. As aresult of Defendants’ infringements, Plaintiff, as well as consumers, are likely

to suffer immediate and irreparable losses, damages and injuries before Defendants can be heard
in opposition, unless Plaintiff's Application for ex parte relief is granted:
a. Defendants have offered for sale and sold substandard Counterfeit Products that
infringe the Off-White Marks;
b. Plaintiff has well-founded fears that more Counterfeit Products will appear in the
marketplace; that consumers may be misled, confused and disappointed by the quality
of these Counterfeit Products, resulting in injury to Plaintiffs reputation and

goodwill; and that Plaintiff may suffer loss of sales for its Off-White Products; and

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c.

12.

Plaintiff has well-founded fears that if it proceeds on notice to Defendants on this
Application, Defendants will: (4) secret, conceal, destroy, alter, sell-off, transfer or
otherwise dispose of or deal with Counterfeit Products or other goods that infringe
the Off-White Marks, the means of obtaining or manufacturing such Counterfeit
Products, and records relating thereto that are in their possession or under their
control, (ii) inform their suppliers and others of Plaintiff's claims with the result being
that those suppliers and others may also secret, conceal, sell-off or otherwise dispose
of Counterfeit Products or other goods infringing the Off-White Marks, the means of
obtaining or manufacturing such Counterfeit Products, and records relating thereto
that are in their possession or under their control, (iit) secret, conceal, transfer or
otherwise dispose of their ill-gotten proceeds from its sales of Counterfeit Products
or other goods infringing the Off-White Marks and records relating thereto that are in
their possession or under their control and/or (iv) open new User Accounts and
Merchant Storefront under new or different names and continue to offer for sale and
sell Counterfeit Products with little to no consequence;

The balance of potential harm to Defendants of being prevented from continuing to

profit from their illegal and infringing activities if a temporary restraining order is issued is far

outweighed by the potential harm to Plaintiff, its business, the goodwill and reputation built up in

and associated with the Off-White Marks and to its reputations if a temporary restraining order is

not issued;

13.

Public interest favors issuance of the temporary restraining order in order to protect

Plaintiff's interests in and to its Off-White Marks, and to protect the public from being deceived

and defrauded by Defendants’ passing off of their substandard Counterfeit Products as Off-White

Products;

14.

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Plaintiff has not publicized its request for a temporary restraining order in any way;

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15. Service on Defendants via electronic means is reasonably calculated to result in
proper notice to Defendants.

16. If Defendants are given notice of the Application, they are likely to secret, conceal,
transfer or otherwise dispose of their ill-gotten proceeds from their sales of Counterfeit Products
or other goods infringing the Off-White Marks. Therefore, good cause exists for granting
Plaintiff's request for an asset restraining order. It typically takes the Financial Institutions a
minimum of five (5) days after service of the Order to locate and freeze Defendants’ Assets and/or
Defendants’ Financial Accounts and it is anticipated that it will take the Third Party Service
Providers a minimum of five (5) days to freeze Defendants’ Merchant Storefronts, As such, the
Court allows enough time for Plaintiff to serve the Financial Institutions and Third Party Service
Providers with this Order, and for the Financial Institutions and Third Party Service Providers to
comply with the Paragraphs 1(B)(1) through 1(B)(2) and 1(C)(1) of this Order, respectively, before
requiring service on Defendants.

17. Similarly, if Defendants are given notice of the Application, they are likely to
destroy, move, hide or otherwise make inaccessible to Plaintiff the records and documents relating
to Defendants’ manufacturing, importing, exporting, advertising, marketing, promoting,
distributing, displaying, offering for sale and/or sale of Counterfeit Products. Therefore Plaintiff

has good cause to be granted expedited discovery.

ORDER

Based on the foregoing findings of fact and conclusions of law, Plaintiff's Application is

hereby GRANTED as follows:

I. Temporary Restraining Order
A. ITIS HEREBY ORDERED, as sufficient cause has been shown, that Defendants are hereby

restrained and enjoined from engaging in any of the following acts or omissions for fourteen
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(14) days from the date of this order, and for such further period as may be provided by order

of the Court:

1)

2)

3)

4)

5)

6)

manufacturing, importing, exporting, advertising, marketing, promoting, distributing,
displaying, offering for sale, selling and/or otherwise dealing in Counterfeit Products,
or any other products bearing the Off-White Marks and/or marks that are confusingly
similar to, identical to and constitute a counterfeiting or infringement of the Off-White
Marks;

directly or indirectly infringing in any manner Plaintiff's Off White Marks;

using any reproduction, counterfeit, copy or colorable imitation of Plaintiffs Off-White
Marks to identify any goods or service not authorized by Plaintiff;

using Plaintiff's Off-White Marks and/or any other marks that are confusingly similar
to the Off-White Marks on or in connection with Defendants’ manufacturing,
importing, exporting, advertising, marketing, promoting, distributing, offering for sale,
selling and/or otherwise dealing in Counterfeit Products;

using any false designation of origin or false description, or engaging in any action
which is likely to cause confusion, cause mistake and/or to deceive members of the
trade and/or the public as to the affiliation, connection or association of any product
manufactured, imported, exported, advertised, marketed, promoted, distributed,
displayed, offered for sale or sold by Defendants with Plaintiff, and/or as to the origin,
sponsorship or approval of any product manufactured, imported, exported, advertised,
marketed, promoted, distributed, displayed, offered for sale or sold by Defendants and
Defendants’ commercial activities and Plaintiff;

secreting, concealing, destroying, altering, selling off, transferring or otherwise
disposing of and/or dealing with: (i) Counterfeit Products and/or (ii) any computer files,

data, business records, documents or any other records or evidence relating to their

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User Accounts, Merchant Storefronts or Defendants’ Assets and the manufacture,
importation, exportation, advertising, marketing, promotion, distribution, display,
offering for sale and/or sale of Counterfeit Products;

7) effecting assignments or transfers, forming new entities or associations, or creating
and/or utilizing any other platform, User Account, Merchant Storefront or any other
means of importation, exportation, advertising, marketing, promotion, distribution,
display, offering for sale and/or sale of Counterfeit Products for the purposes of
circumventing or otherwise avoiding the prohibitions set forth in this Order; and

8) knowingly instructing any other person or business entity to engage in any of the
activities referred to in subparagraphs I(A)(1) through I(A){7) above and 1(B)(1)
through I(B}\(2) and I(C)(1) below.

B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that the Third Party Service
Providers and Financial Institutions are hereby restrained and enjoined from engaging in any of
the following acts or omissions for fourteen (14) days from the date of this order, and for such
further period as may be provided by order of this Court:

1) secreting, concealing, transferring, disposing of, withdrawing, encumbering or paying
Defendants’ Assets from or to Defendants’ Financial Accounts until further ordered by this
Court;

2) secreting, concealing, destroying, altering, selling off, transferring or otherwise disposing
of and/or dealing with any computer files, data, business records, documents or any other
records or evidence relating to Defendants’ Assets and Defendants’ Financial Accounts;
and

3) knowingly instructing any person or business entity to engage in any of the activities
referred to in subparagraphs I(A){I) through [(A){7) and I(B)(1) through 1(B)(2) above and

I(C)(1) below.
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C. ITIS HEREBY ORDERED, as sufficient cause has been shown, that the Third Party Service
Providers are hereby restrained and enjoined from engaging in any of the following acts or
omissions for fourteen (14) days from the date of this order, and for such further period as may be
provided by order of this Court:

1) within five (5) days after receipt of service of this Order, providing services to Defendants,
Defendants’ User Accounts and Defendants’ Merchant Storefronts, including, without
limitation, continued operation of Defendants’ User Accounts and Merchant Storefronts;
and

2) knowingly instructing any other person or business entity to engage in any of the activities
referred to in subparagraphs I(A)(1) through I(A)\(7), [(B)() through [(B){2) and I(C)(1)
above.

il. Order to Show Cause Why A Preliminary Injunction
Should Not Issue And Order Of Notice

A. Defendants are hereby ORDERED to show cause before this Court during a telephonic
proceeding on October 30, 2020 at 3:30 p.m. Eastern Daylight Time, or at such other time
that this Court deems appropriate, why a preliminary injunction, pursuant to Fed. R. Civ. P.
65(a), should not issue. Participants may access the cali by dialing (888) 363-4734, entering
the access code 1527005#, and the security code 1065#.

B. The parties shall appear for a telephonic conference on October 13, 2020 at 4:00 p.m. Eastern
Daylight Time, at which conference the Court may entertain any application for extension of
the restraining provisions of this Order. Participants may access the call by dialing (888) 363-
4734, entering the access code 1527005#, and the security code 1065#.

Cc. IT IS FURTHER ORDERED that opposing papers, if any, shall be filed electronically with
the Court and served on Plaintiff's counsel by delivering copies thereof to the office of Epstein

Drangel LLP at 60 East 42" Street, Suite 2520, New York, NY 10165, Attn: Jason M. Drangel
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on or before October 20, 2020. Plaintiff shail file any Reply papers on or before October 26,
2020.

. ITIS FURTHER ORDERED that Defendants are hereby given notice that failure to appear at
the show cause hearing scheduled in Paragraph II(A) above may result in the imposition of a
preliminary injunction against them pursuant to Fed. R. Civ. P. 65, which may take effect
immediately upon the expiration of this Order, and may extend throughout the length of the

litigation under the same terms and conditions set forth in this Order.

Il. Asset Restraining Order
. IT IS FURTHER ORDERED pursuant to Fed. R. Civ. P. 64 and 65 and N.Y, C.P.L.R. 6201

and this Court’s inherent equitable power to issue provisional remedies ancillary to its authority
to provide final equitable relief, as sufficient cause has been shown, that within five (5) days
of receipt of service of this Order, the Financial Institutions shall locate and freeze Defendants’

Financial Accounts and shall provide written confirmation of such action to Plaintiff's counsel.

IV. Order Authorizing Bifurcated and Alternative Service by Electronic Means
. ITT IS FURTHER ORDERED pursuant to Fed. R. Civ. P. 4(£)(3), as sufficient cause has been

shown, that service may be made on, and shall be deemed effective as to Defendants if it is

completed by the following means:

1) delivery of: (i) PDF copies of this Order together with the Summons and Complaint, or
(ii) a link to a secure website (including NutStore, a large mail link created through
Rmail.com and via website publication through a specific page dedicated to this
Lawsuit accessible through ipcounselorslawsuit.com) where each Defendant will be
able to download PDF copies of this Order together with the Summons and Complaint,
and all papers filed in support of Plaintiff's Application seeking this Order to
Defendants’ e-mail addresses to be determined after having been identified by eBay

pursuant to Paragraph V(C).
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. ITIS FURTHER ORDERED, as sufficient cause has been shown, that such alternative service
by electronic means ordered herein shall be deemed effective as to Defendants, Third Party
Service Providers and Financial Institutions through the pendency of this action.

. ITES FURTHER ORDERED, as sufficient cause has been shown, that such alternative service

by electronic means ordered herein shall be made within five (5) days of the Financial

Institutions and Third Party Service Providers’ compliance with Paragraphs III(A) and V(C)

of this Order. Plaintiff shall file proof of such service immediately upon completion,

. ITIS FURTHER ORDERED, as sufficient cause has been shown, that the Clerk of the Court

shall issue a single original summons directed to all Defendants as listed in an attachment to

the summons that will apply to all Defendants.

. IT TS FURTHER ORDERED, as sufficient cause has been shown, that service may be made

and shall be deemed effective as to the following if it is completed by the below means:

1) delivery of: G) a PDF copy of this Order, or (ii) a link to a secure website where PayPal
Inc. will be able to download a PDF copy of this Order via electronic mail to EE Omaha
Legal Specialist at EEOMALegalSpecialist@paypal.com;

2) delivery of: (2) a PDF copy of this Order, or (ii) a link to a secure website where eBay, via
eBay’s Registered Agent, will be able to download a PDF copy of this Order via electronic
mail at copyright@ebay.com, to Bryce Baker at brybaker@ebay.com and to Joanna
Lahtinen at jlahtinen@ebay.com;

3) delivery of: (i) a PDF copy of this Order, or (ii) a link to a secure website where Payoneer
Inc. will be able to download a PDF copy of this Order via electronic mail to Payoneer
Inc.’s Customer Service Management at customerservicemanager@payoneer.com and
Edward Tulin, counsel for Payoneer inc., at Edward.Tulin@skadden.com; and

4) delivery of: (i) a PDF copy of this Order, or (ii) a link to a secure website where PingPong

Global Solutions Ine. will be able to download a PDF copy of this Order via electronic mail

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to Zeng Ni of PingPong Global Solutions Inc.’s Legal Department legal@pingpongx.com.

VY. Order Authorizing Expedited Discovery
A. ITIS FURTHER ORDERED, as sufficient cause has been shown, that:

1) Within fourteen (14) days after receiving service of this Order, each Defendant shall serve
upon Plaintiff’s counsel a written report under oath providing:

a. their true name and physical address;

b. the name and location and URL of any and all websites that Defendants own and/or
operate and the name, location, account numbers and URL for any and all User
Accounts and Merchant Storefronts on any Third Party Service Provider platform
that Defendants own and/or operate;

c. the complete sales records for any and all sales of Counterfeit Products, including
but not limited to number of units sold, the price per unit, total gross revenues
received (in U.S. dollars) and the dates thereof;

d. the account details for any and all of Defendants’ Financial Accounts, including,
but not limited to, the account numbers and current account balances; and

e. the steps taken by each Defendant, or other person served to comply with Section
I, above.

2) Plaintiff may serve interrogatories pursuant to Rules 26 and 33 of the Federal Rules of
Civil Procedure as well as Local Civil Rule 33.3 of the Local Rules for the Southern and
Eastern Districts of New York and Defendants who are served with this Order shall provide
written responses under oath to such interrogatories within fourteen (14) days of service to
Plaintiffs counsel.

3) Plaintiff may serve requests for the production of documents pursuant to Fed, R. Civ. P. 26

and 34, and Defendants who are served with this Order and the requests for the production

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of documents shall produce all documents responsive to such requests within fourteen (14)
days of service to Plaintiff's counsel,

B, {TIS FURTHER ORDERED, as sufficient cause has been shown, that within five (5) days of
receipt of service of this Order the Financial Institutions shall identify any and all of
Defendants’ Financial Accounts, and provide Plaintiffs counsel with a summary report
containing account details for any and all such accounts, which shall include, at a minimum,
identifying information for Defendants, including contact information for Defendants
(including, but not limited to, mailing addresses and e-mail addresses), account numbers and
account balances for any and al! of Defendants’ Financial Accounts and confirmation of said
compliance with this Order.

Cc. ITIS FURTHER ORDERED, as sufficient cause has been shown, that within five (5) days of
receipt of service of this Order, the Third Party Service Providers shall identify any and all of
Defendants’ User Accounts and Merchant Storefronts, and provide Plaintiffs counsel with a
summary report containing account details for any and all User Accounts and Merchant
Storefronts, which shall include, at a minimum, identifying information for Defendants and
Defendants’ User Accounts and Defendants’ Merchant Storefronts, contact information for
Defendants (including, but not limited to, mailing addresses and e-mail addresses) and
confirmation of said compliance with this Order.

D. ITIS FURTHER ORDERED, as sufficient cause has been shown, that:

1} Within fourteen (14) days of receiving actual notice of this Order, all Financial
Institutions who are served with this Order shall provide Plaintiffs counsel all
documents and records in their possession, custody or control (whether located in the
USS. or abroad) relating to any and all of Defendants’ Financial Accounts, including,
but not limited to, documents and records relating to:

a. account numbers;

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. current account balances;

any and ali identifying information for Defendants, Defendants’ User Accounts and
Defendants’ Merchant Storefronts, including, but not limited to, names, addresses

and contact information;

. any and all account opening documents and records, including, but not limited to,

account applications, signature cards, identification documents and if a business
entity, any and al! business documents provided for the opening of each and every
of Defendants’ Financial Accounts;

any and all deposits and withdrawals during the previous year from each and every
one of Defendants’ Financial Accounts and any and all supporting documentation,
including, but not limited to, deposit slips, withdrawal slips, cancelled checks and
account statements; and

any and all wire transfers into each and every one of Defendants’ Financia!
Accounts during the previous year, including, but not limited to, documents
sufficient to show the identity of the destination of the transferred funds, the identity

of the beneficiary’s bank and the beneficiary’s account number.

E. 1TiS FURTHER ORDERED, as sufficient cause has been shown, that:

1)

Within fourteen (14) days of receipt of service of this Order, the Third Party Service
Providers shail provide to Plaintiff's counsel all documents and records in its
possession, custody or contro! (whether located in the U.S. or abroad) relating to
Defendants’ User Accounts and Defendants’ Merchant Storefronts, including, but not

limited to, documents and records relating to:

any and all User Accounts and Defendants’ Merchant Storefronts and account
details, including, without limitation, identifying information and account numbers

for any and all User Accounts and Defendants’ Merchant Storefronts that

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Defendants have ever had and/or currently maintain with the Third Party Service
Providers that were not previously provided pursuant to Paragraph V(C);
b. the identities, location and contact information, including any and all e-mail
addresses of Defendants that were not previously provided pursuant to Paragraph
Vv(C);
c, the nature of Defendants’ businesses and operations, methods of payment, methods
for accepting payment and any and all financial information, including, but not
Hmited to, information associated with Defendants’ User Accounts and
Defendants’ Merchant Storefronts, a full accounting of Defendants’ sales history
and listing history under such accounts and Defendants’ Financial Accounts with
any and all Financial Institutions associated with Defendants’ User Accounts and
Defendants’ Merchant Storefronts; and
d. Defendants’ manufacturing, importing, exporting, advertising, marketing,
promoting, distributing, displaying, offering for sale and/or selling of Counterfeit
Products, or any other products bearing the Off-White Marks and/or marks that are
confusingly similar to, identical to and constitute an infringement of the Off-White
Marks.
VI. Security Bond
A. IT IS FURTHER ORDERED that Plaintiff shall place security in the amount of one hundred
thousand Dollars ($100,000) with the Court which amount is determined adequate for the
payment of any damages any person may be entitled to recover as a result of an improper or
wrongful restraint ordered hereunder.
Vi. Sealing Order
A. IT IS FURTHER ORDERED that Plaintiff's Complaint and exhibits attached thereto, and

Plaintiff's ex parte Application and the Declarations Virgil Abloh and Danielle S. Yamali in

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support thereof and exhibits attached thereto and this Order, as well as the Court’s Order dated
September 29, 2020, scheduling a hearing for that date and the transcript, if any, of the hearing
on Plaintiff's application for this Temporary Restraining Order, shall remain sealed until the
earlier of (1) October 9, 2020, and (2) the date upon which all of the Financial Institutions and
Third Party Service Providers have complied with Paragraphs I(B)-(C), HI(A) and V(C) of
this Order, Plaintiff shall immediately notify the Court when the Financial Institutions and

Third Party Service Providers are in compliance and the materials may be unsealed.

SO ORDERED.

SIGNED this 29th day of September, 2020, at 9:40 p.m.

/s/ Laura Taylor Swain
HON, LAURA TAYLOR SWAIN

UNITED STATES DISTRICT JUDGE

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